Case 6:19-cv-01921-GAP-EJK Document 84 Filed 01/11/21 Page 1 of 2 PageID 916




                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   KAMIKA MACKEY,

                          Plaintiff,

   v.                                                            Case No: 6:19-cv-1921-Orl-31EJK

   FAIRWINDS CREDIT UNION and
   RASHEED KARIM ALLEN,

                          Defendants.


                                                  ORDER
          This matter came before the Court during a hearing held December 21, 2020, to consider

   the Report and Recommendation of the Grievance Committee (Doc. 71). Rasheed Karim Allen

   (“Respondent”), who is counsel for Plaintiff in this case, filed a Response to the report (Doc. 82)

   and appeared with counsel. Having considered the matter, the Court agrees with the Grievance

   Committee’s conclusion that Respondent’s conduct warrants the imposition of significant

   sanctions. Accordingly, it is

          ORDERED that Respondent is placed on probation for a period of twelve months.

   During this period of probation, the following conditions and restrictions shall apply:

          1.    This matter will be referred to the Florida Bar for its consideration.

          2. Respondent is prohibited from taking on any new cases in the Middle District of

               Florida, absent prior consent of this Court.

          3. Respondent must make payments to Defendant of $450.00 per month, beginning

               January 15, 2021, and by the 15th day of each month thereafter until the sanction
Case 6:19-cv-01921-GAP-EJK Document 84 Filed 01/11/21 Page 2 of 2 PageID 917




              amount of $5,530 is paid in full. The Court waives the accrual of interest on the

              sanction.

          4. Respondent shall comply with the provisions of paragraph 5 a-h of the Grievance

              Committee’s recommendations at Doc. 71, pages 14-15, and report to the Court his

              compliance prior to the termination of probation.

          5. Respondent shall report to the Court (in a miscellaneous docket to be opened) any

              show cause order issued against him by any court in the state of Florida.

          6. For good cause shown, the Court may terminate this term of probation or convert the

              same into a suspension or disbarment.

          The Clerk is directed to open a miscellaneous docket for this matter, assigned to the

   undersigned and United States Magistrate Judge Embry J. Kidd. All future documents filed in

   connection with this sanction shall be filed in that docket. In that docket, the Clerk shall file a

   copy of the Grievance Committee’s Report, Respondent’s Response, and this Order. After

   opening the miscellaneous docket, this case shall be closed.

          DONE and ORDERED in Chambers, Orlando, Florida on January 11, 2021.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party




                                                    -2-
